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3    Solovtoñweno                SEIDENWURM & SMITH,          LLP
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4 San Dieeo. California 92101
  (t) 61e.ni.0303
5 (Ð 619.23t.47ss

6 Attornevs for Defendant
     MIDLÄND CREDIT MANAGEMENT, INC.
 7

 I                               UNITED STATES DISTRICT COURT
 9                            SOUTHERN DISTRICT OF CALIFORNIA
10

11   CAMILO MARQTIEZ,                                 Case No.   '15CV1174 AJB DHB

12                      Plaintiff,                    CERTIFICATE OF SERVICE
13            V.

l4 MIDLAND CREDIT
     MANAGEMENT, INC.,
15
                        Defendant.
t6
l7 STATE OF CALIFORNIIA, COUNTY OF SAl\ DIEGO
18            At the time of service, I was over 18 years of age and not a party to this
t9 action. I am employed in the County of San Diego, State of California. My
20 business address is 401 B Street, Suite 7200, San Diego, CA 92101.

2t            On May 27,2015,        I served true copies of the following   document(s)

22 described as:
23                 1. Civil Cover Sheet
24 on the interested parties in this action as follows:

25
26

27
28

     P:00959223:87025.136                             -t-
                                            CERTIFICATE OF SERVICE
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I    Camilo Marquez                                               Plaintiff pro se
     760 Dorothy'street #B
2    Chula Vistá CA 9191 I
     Telephon e: 619-917 -2231
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 I
 9

10            BY    MAIL: I enclosed the document(s) in sealed envelope(s)   or package(s)

11   addressed to the person(s) at the address(es) listed in above and placed the

t2 envelope(s) for collection      and mailing, following our ordinary business practices.    I
                                           'Ward Seidenwurm &, Smith, LLP's practice for
13   am readily familiar with Solomon

l4   collecting and processing coffespondence for mailing. On the same day that
15   correspondence is placed for collection and mailing, it is deposited in the ordinary

t6   course of business with the United States Postal Service, in a sealed envelope with

l7   postage fully prepaid. I am aresident or employed in the county where the mailing

18 occurred. The envelope was placed in the mail at San Diego, California.

t9            I declare under penalty of perjury under the laws of the United   States   of
20 America and the State of California that the foregoing is true and correct.

2l            Executed on May 27,2015, at San Diego,     Califopi
7)
23

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     P:00959223.87025,I36                          -2-
                                         CERTIFICATE OF SERVICE
